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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

Doe,

               Plaintiff(s),

       v.                                                           CIVIL ACTION
                                                                    NO. 19-40050-TSH
Clark University, et al.,

               Defendant(s).

                                     SCHEDULING ORDER

HILLMAN, J.

       This Scheduling Order is intended to provide a reasonable timetable for discovery and
motion practice in order to help ensure a fair and just resolution of this matter without undue
expense or delay.

                            Timetable for Discovery and Motion Practice

        Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rule 16.1(F), it
is hereby ORDERED that:

       1.      Initial Disclosures. Initial disclosures required by Fed. R. Civ. P. 26(a)(1) must be
               completed by
                1/31/20 .

       2.      Amendments to Pleadings. Except for good cause shown, no motions seeking
               leave to add new parties or to amend the pleadings to assert new claims or defenses
               may be filed after 2/28/20            .

       3.      Fact Discovery - Interim Deadlines.

               a.      All requests for production of documents and interrogatories must be
                       served by 5/29/20 .

               b.      All requests for admission must be served by 5/29/20 .

               c.      All depositions, other than expert depositions, must be completed by
                        10/30/20 .
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4.      Fact Discovery - Final Deadline. All discovery, other than expert discovery, must
        be completed by 10/30/20 .

5.      Status Conference. A status conference will be held on 2/25/20 at 2:15PM


6.      Expert Discovery.

        a.     Plaintiff(s)’ trial experts must be designated, and the information
               contemplated by Fed. R. Civ. P. 26(a)(2) must be disclosed, by
                11/30/20 .

        b.     Plaintiff(s)’ trial experts must be deposed by 12/30 /20 .

        c.     Defendant(s)’ trial experts must be designated, and the information
               contemplated by Fed. R. Civ. P. 26(a)(2) must be disclosed, by
                1/30/21 .

        d.     Defendant(s)’ trial experts must be deposed by 2/26/21 .


7.      Dispositive Motions.

        a.     Dispositive motions, such as motions for summary judgment or partial
               summary judgment and motions for judgment on the pleadings, must be
               filed by 3/31/21 .

        b.     Oppositions to dispositive motions must be filed within      30 days after
               service of the motion.


8.      Initial Pretrial Conference. An initial pretrial conference will be held on
               at          PM. The parties shall prepare and submit a pretrial
        memorandum in accordance with Local Rule 16.5(D) five business days prior to
        the date of the conference, except that the parties need not include matters required
        by Local Rule 16.5(D)(2) or (3).




                               Procedural Provisions

1.      Extension of Deadlines. Motions to extend or modify deadlines will be granted
        only for good cause shown. All motions to extend shall contain a brief statement
        of the reasons for the request; a summary of the discovery, if any, that remains to

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        be taken; and a specific date when the requesting party expects to complete the
        additional discovery, join other parties, amend the pleadings, or file a motion.

2.      Motions to Compel or Prevent Discovery. Except for good cause shown,
        motions to compel discovery, motions for protective orders, motions to quash,
        motions to strike discovery responses, and similar motions must be filed no later
        than the close of fact discovery or the close of expert discovery, whichever
        deadline is relevant. If additional discovery is compelled by the court after the
        relevant deadline has passed, the court may enter such additional orders relating to
        discovery as may be appropriate.

3.      Reply Memoranda. Parties need not seek leave of court to file a reply
        memorandum in response to an opposition to any motion, provided that such a
        reply memorandum does not exceed twelve pages, double-spaced, and is filed
        within seven days (excluding intermediate Saturdays, Sundays, and legal holidays)
        after service of the opposition memorandum. Parties may otherwise file reply or
        sur-reply memoranda only with leave of court. When such leave is sought, the
        moving party shall file a proposed reply or surreply memorandum with the motion
        for leave.

4.      Status Conferences. The court has scheduled a status conference after (or close
        to) the close of fact discovery for case management purposes. Any party who
        reasonably believes that a status conference will assist in the management or
        resolution of the case may request one from the court upon reasonable notice to
        opposing counsel.

5.      Additional Conferences. Upon request of counsel, or at the court’s own
        initiative, additional case-management or status conferences may be scheduled.
        Parties may request telephonic conferences where appropriate to avoid undue
        inconvenience or expense.

6.      Early Resolution of Issues. The court recognizes that, in some cases, resolution
        of one or more preliminary issues may remove a significant impediment to
        settlement or otherwise expedite resolution of the case. Counsel are encouraged to
        identify any such issues and to make appropriate motions at an early stage in the
        litigation.

7.      Pretrial Conference. Lead trial counsel are required to attend any pretrial
        conference.



                                                      By the Court,

 12/6/19                                              /s/ Martin Castles
   Date                                               Deputy Clerk


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